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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BROIDY CAPITAL MANAGENIENT
LLC and ELLIOTT BROIDY,

Plaintiffs,
v.

STATE OF QATAR, STONINGTON
STRATEGIES LLC, NICOLAS D.
MUZIN, GLOBAL RISK ADVISORS
LLC, KEVIN CHALKER, DAVID
MARK POWELL, MOHAMMED BIN
HAMAD BIN KHALIFA AL THANI,
AHMED AL-RUMAIHI, and DOES 1-
10,

Defendants.

 

 

Case No. 2: 18-cv-02421-.TFW (Ex)

DECLARATION OF ADELINA
LANDEROS RE FILING DOCKET
ENTRY 126

Case No. lS-cv-0242 l-JFW
DECI_.ARATION OF ADELINA LANDEROS

 

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DECM_MTQN OF ADELINA LANDEROS

I, Adelina Landeros, hereby declare as follows:

l. l am a Legal Assistant in the Los Angeles office of Boies Schiller
Flexner LLP (“Boies Schiller”).

2. I have been a legal assistant for Boies Schiller’s Los Angeles office for
five months and, more generally, I have been a legal assistant for law firms in the
downtown Los Angeles, California area for nineteen years. Over the years, my duties
have regularly included filing documents in the Case Management/Electronic Case
Filing system for the United States District Court for Central District of California
(“ECF System”). I am familiar with how to file documents into the ECF System

The Inadvertent Misfiling of Confidential Exhibits

3. On July 6, 2018, I worked with Douglass Mitchell, a partner in Boies
Schiller’s Las Vegas office to file two documents: (1) Plaintiff`s’ Application for
Leave to File under Seal Certain Exhibits and Ref`erences Thereto in Opposition to
State of Qatar Motion to Disrniss (“Application”) and (2) Declaration of Lee S.
Wolosky in Support of Plaintiffs’ Application for Leave to File under Seal Certain
Exhibits and References Thereto in Opposition to State of Qatar’s Motion to Dismiss
(“Declaration”).

4. Before starting the process of filing the Application and Declaration, Mr.
Mitchell and I discussed the fact that three of the exhibits to the Declaration contained
information Plaintiffs were required to file under seal (“Confidential Exhibits”).

5. Mr. Mitchell told me the Application and Declaration were being filed to
obtain the Court’s permission to file the Confidential Exhibits under seal so they could
be used in connection with a brief that was due on Monday, July 9, 2018.

6. Mr. Mitchell and I also reviewed (a) Local Rule 79-5, relating to filing
documents under seal; (b) Paragraph 9 of the Court’s March 27, 2018 Standing Order

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(ECF No. 17), relating to filing documents under seal; and (c) the district court’s
Guide to Electronically Filing Under Seal Documents in Civil Cases (“Sealed Filing
Guide”).

7. After reviewing the applicable rules, Mr. Mitchell and l walked through
the steps outlined on pages 5-14 of the Sealed Filing Guide for filing an application
for leave to file documents under seal. We discussed among other things:

a. using the “Under Sealed Filing Events” menu item on the district’s

ECF filing system to initiate the two-step process for filing applications for

leave to file documents under seal;

b. the requirement to file the Application and the Declaration as two
separate docketing events;
c. using the “Leave to File Document Under Seal” event to file the

Application, and the exhibits attached to it;

d. the fact that the Application, and the exhibits attached to it, would
be publicly available on PACER;
e. using the “Sealed Document in Support” event to file the

Declaration and the Confidential Exhibits that would be attached to it;

f. the fact that the Declaration, and the Confidential Exhibits
attached to it, would be Sealed and not publicly available on PACER.

8. Mr. Mitchell identified the four specific exhibits that were to be filed as
attachments to the Application and we discussed the fact that the Application and the
four exhibits would be publicly filed because they did not contain confidential
information (“Public Exhibits”).

9. Mr. Mitchell identified the three specific exhibits that were the
Confidential Exhibits and explained that they needed to be filed as attachments to the

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Declaration because they contained confidential information that Plaintif`fs were
required to file under seal.

10. At the conclusion of my discussions with Mr. Mitchell, I understood the
process for filing applications for leave to seal documents in the Central District of
California. I knew the Declaration and the Confidential Exhibits were to be filed
under seal. I also had a copy of the Sealed Filing Guide.

l l. I then proceeded to file the Application and the Declaration.

12. In the process of filing the Application, l discovered that one of the
Public Exhibits would not upload to the ECF System. lt therefore became necessary
for me to call the district court’s help desk to remedy the problem, which took a
substantial period of time and involved a number of steps.

13. After resolving the problem, l completed filing the Application, including
the Public Exhibits as identified by Mr. Mitchell. I understand the Application was
filed as ECF No. 125.

14. l then filed the Declaration and the Confidential Exhibits as identified
by Mr. Mitchell, as a separate event in the ECF System. I understand the Declaration
and Confidenital Exhibits was filed as ECF No. 126.

15. Only minutes after filing the Declaration and the Confidential Exhibits,
Mr. Mitchell called me and explained that, instead of being sealed, the Declaration
and Confidential Exhibits were visible and accessible on the public docket. As we
discussed the filing, I realized that I had inadvertently selected the “Leave to File
Document Under Seal” event instead of` the “Sealed Document in Support” event
when I filed the Declaration and the Confidential Exhibits. I believe that l made that
mistake because I was distracted by the problem described above concerning the filing

of one of the Public Exhibits.

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16. Mr. Mitchell then instructed me to immediately contact the Court, tell the
appropriate personnel that ECF No. 126 Was inadvertently filed as a public document,
explain that the three Exhibits contained confidential information that needed to be
filed under seal, and ask the Court to either remove or seal the Declaration and the
Confidential Exhibits.

17. I immediately emailed the clerk of the court three times explaining that
Declaration and the Confidential Exhibits filed as ECF No. 126 should have been filed
under seal, but that they had inadvertently been filed publicly. l asked the Clerk of the
Court to either remove docket entry or seal the documents When I did not get a
response, I called the district court’s help desk again. The help desk asked me to call
Kelly Davis, the Assistant Manager for the Clerk’s office, which I did immediately.

18. After placing me on hold for a period of time while she conferred with
Judge Walter’s clerk, Ms. Davis asked me to confirm the inadvertent filing issue
related to ECF No. 126. A short time iater, she came back on the phone again to tell
me the Confidential Exhibits were being reviewed by Judge Walter. Shortly after that,
Judge Walter entered an order sealing the Declaration and the Confidential Exhibits
(ECF No. 128).

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19. I intended to file Declaration and Confidential Exhibits under seal
pursuant to the procedures outlines in the Sealed Filing Guide and thought I had done
so. The public filing was inadvertent and occurred only because l did not realize that I
had clicked the “Leave to File Document Under Seal” event instead of the “Sealed

Document in Support” event.

I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct

Dated: Juryll¢,zois By; Q MM

Adelina Landeros

 

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DECLARATION oF ADELlNA LANDEROS

 

 

